                          UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF LOUISIANA
                                SHREVEPORT DIVISION



In re:                                                 Case No. 22-11308

RWDY, INC.,
                                                       Chapter 11
          Debtor.


                    NOTICE OF APPEARANCE AND REQUEST FOR NOTICE

TO THE CLERK OF THE COURT AND ALL PARTIES IN INTEREST PLEASE
TAKE NOTICE THAT:

          The undersigned has been asked to serve as counsel for Goat Advance LLC,

Reliance Financial, Spin Capital, Mynt Advance, Slate Advance, and Reserve Capital

Management in the above-referenced case, and files this Notice of Appearance and

Request for Notice in the above-referenced proceeding and requests that all notices given

or required to be given in this case and all documents served or required to be severed in

this case be given or served upon same at the address and/or email address listed as

follows:


          Katilyn M. Hollowell (#37729)
          katie.hollowell@keanmiller.com
          KEAN MILLER LLP
          400 Convention Street, Suite 700
          P. O. Box 3513 (70821-3513)
          Baton Rouge, LA 70802
          Telephone: (225) 387-0999
          Telecopier: (225) 388-9133




4854-2016-5704 v1




   22-11308 - #49 File 01/13/23 Enter 01/13/23 16:24:54 Main Document Pg 1 of 3
          FURTHER NOTICE is hereby given that the foregoing request includes all

notices and copies of all motions, notices, reports, briefs, applications, complaint,

demand, hearing, pleading, adversary proceedings, proposed orders, confirmed copies of

orders, any proposed disclosure statement or plan of reorganization, or request, formal or

informal, whether transmitted or conveyed by mail, email, fax or otherwise that has been

filed with the court, any other documents or instruments filed in the above-referenced

proceedings and any other matter in which notice is required pursuant to 11 U.S.C. §

1109(b) and Bankruptcy Rules 2002(a) and (b), 3017(a), and 9013 of the Federal Rules of

Bankruptcy Procedure.


          FURTHER NOTICE is hereby given that this Notice of Appearance and any

later appearance, pleading, claim or suit shall not be deemed to be a waiver of the rights

of Goat Advance LLC, Reliance Financial, Spin Capital, Mynt Advance, Slate Advance,

and Reserve Capital Management (1) to have final orders in matters and proceedings in

which a Bankruptcy Court does not have the power to enter a final order under Article III

of the Constitution entered only after de novo review by a District Court Judge, (2) to

trial by jury in any proceeding so triable in this case or any case, controversy, or

proceeding related to this case, (3) to have the District Court withdraw the reference in

any matter subject to mandatory or discretionary withdrawal, (4) to any rights, actions, or

defenses relating to the scope of the Bankruptcy Court’s jurisdiction, or (5) to any other

rights, claims, actions, defenses, setoffs, or recoupments to which Goat Advance LLC,

Reliance Financial, Spin Capital, Mynt Advance, Slate Advance, and/or Reserve Capital


4854-2016-5704 v1




   22-11308 - #49 File 01/13/23 Enter 01/13/23 16:24:54 Main Document Pg 2 of 3
Management is or may be entitled, in law or in equity, all of which rights, claims, actions,

defenses, setoffs, and recoupments Goat Advance LLC, Reliance Financial, Spin Capital,

Mynt Advance, Slate Advance, and Reserve Capital Management expressly reserve. Nor

shall this Notice of Appearance be deemed to constitute consent to electronic service of

any pleading or papers for which mailed or personal service is required under the

applicable Bankruptcy Rules or Federal Rules of Civil Procedure.


Dated: January 13, 2023                   Respectfully submitted:

                                          KEAN MILLER LLP
                                          /s/ Katilyn M. Hollowell
                                          J. Eric Lockridge (#30159)
                                          eric.lockridge@keanmiller.com
                                          Katilyn M. Hollowell (#37729)
                                          katie.hollowell@keanmiller.com
                                          KEAN MILLER LLP
                                          400 Convention Street, Suite 700
                                          P. O. Box 3513 (70821-3513)
                                          Baton Rouge, LA 70802
                                          Telephone: (225) 387-0999

                                          Attorneys for Goat Advance LLC, Reliance
                                          Financial, Spin Capital, Mynt Advance, Slate
                                          Advance, and Reserve Capital Management




4854-2016-5704 v1




   22-11308 - #49 File 01/13/23 Enter 01/13/23 16:24:54 Main Document Pg 3 of 3
